           Case 3:14-cr-02936-BEN                      Document 138               Filed 02/26/16             PageID.557             Page 1 of 8
                  ASD) (Rev. 12111) Judgment in a Criminal Case
                Sheet 1



                                               UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                         v.                                          (For Offenses Committed On or After November 1, 1987)

                          FRANCISCO CUEVAS (3)
                                                                                     Case Number: 14CR2936-BEN:...._ _- ­                 __  -::=-:=---,
                                                                                     RUSSELL SHERIDAN BAB
                                                                                     Defendant's Attorney
     REGISTRATION NO. 48527298

    D                                                                                 FEB 262016
    THE DEFENDANT:
    181 pleaded guilty to count(s) Is OF THE SUPERSEDING INDICTMENT.              CU:RK U:, [)IS II lie I '.:()UH r RNIA
                                                                                                 ,           .                                                 )(~~)UTY
    D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~8~Y=======~~==_--
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
18 USC 1956(h)                        CONSPIRACY TO COMMIT MONEY LAUNDERING                                                                       Is




        The defendant is sentenced as provided in pages 2 through                8          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 181 Count(s) REMAINING AND UNDERLYING INDICTMENT      -----------------------------
                                                              is D arel8l dismissed on the motion of the United States.
 181 Assessment: $100.00 forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate of not less than $25.00 per quarter
     during the period of incarceration.


 D Fine waived                                      181 Forfeiture pursuant to order filed           FEBRUARY 22,2016          ,included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              UNITED STATES DISTRICT mDGE

                                                                                                                                               14CR2936-BEN
 ,,
        Case 3:14-cr-02936-BEN                     Document 138           Filed 02/26/16         PageID.558         Page 2 of 8
AD 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                  Judgment - Page _-=2,-- of    8
 DEFENDANT: FRANCISCO CUEVAS (3)
 CASE NUMBER: 14CR2936-BEN
                                                           IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          FIFTY-ONE (51) MONTHS.




      o Sentence imposed pursuant to Title 8 USC Section 1326(b).
      181 The court makes the following recommendations to the Bureau of Prisons:
          DEFENDANT BE INCARCERATED WITHIN THE WESTERN REGION OF THE UNITED STATES.




      o   The defendant is remanded to the custody of the United States Marshal.

      o   The defendant shall surrender to the United States Marshal for this district:
            Oat                                    Oa.m.      Op.m.       on _ _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

      181 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           181 before 5:00PM ON APRlL I, 2016.
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                 RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                    to

 at                                                   with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL


                                                                       By
                                                                                           DEPUTY UNITED STATES MARSHAL




                                                                                                                         14CR2936-BEN
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AD 245B (CASD) (Rev. 12/1 1) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment Page ~ of _---'8"-_ _
DEFENDANT: FRANCISCO CUEVAS (3)
CASE NUMBER: 14CR2936-BEN
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant. pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000. pursuant to 18 USC sections 3563(a)l7) and 3583(d).
       The defendant shall comply with ille requirements of the Sex Offender'Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to conftrm the
         defendant's compliance with such notification requirement.

                                                                                                                                        14CR2936-BEN
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       AO 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                        Judgment Page   ----i...- of      8
       DEFENDANT: FRANCISCO CUEVAS (3)
       CASE NUMBER: 14CR2936-BEN




                                              SPECIAL CONDITIONS OF SUPERVISION
81 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall wam any other residents that the premises may be subject to searches pursuant to
    this condition.                                                                                                                              ~

] If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
  officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
] Not transport, harbor, or assist undocumented aliens.
] Not associate with undocumented aliens or alien smugglers.
] Not reenter the United States illegally.
81 Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
81 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
] Not possess any narcotic drug or controlled substance without a lawful medical prescription.
] Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous dmgs in any form.

]   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer. based on the defendant's ability to pay.
]   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
81 Provide complete disclosure of personal and business financial records to the probation officer as requested.
81 Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
]   Seek and maintain full time employment and/or schooling or a combination of both.
]   Resolve all outstanding warrants within               days.
]   Complete             hours of community service in a program approved by the probation officer within
]   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

] Participate in a program of dmg or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
  probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. Is required to
  contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

]




                                                                                                                                       14CR2936-BEl'
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A0245S      Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties

                                                                                                  Judgment - Page _...;5:....-_ of   8
DEFENDANT: FRANCISCO CUEVAS (3)                                                            II
CASE NUMBER: l4CR2936-BEN

                                                                   FINE

     The defendant shall pay a fine in the amount of ____$_2_5_0._0_0____un
                                                                         ,to the United States of America.




         This sum shall be paid __ immediately.
                                 " as follows:

          Forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate of not less than $25.00 per
          quarter during the period of incarceration.




         The Court has determined that the defendant ~do~e~s_ _ have the ability to pay interest. It is ordered that:

  ..::.... The interest requirement is waived.


          The interest is modified as follows:




                                                                                                 l4CR2936-BEN
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 8                           UNITED STATES DISTRlCT COURT
 9                       SOUTHERN DISTRlCT OF CALIFORNIA,
10   UNITED STATES OF AMERICA,                        Case No. 14-cr-2936-BEN
11                        Plaintiff,                  ORDER OF CRlMINAL
                                                      FORFEITURE
12          v.
13   FRANCISCO CUEVAS,
14                        Defendant.
15
16         WHEREAS, in the Superseding Indictment in the above-captioned case, the
17 United States sought forfeiture of all right, title and interest in specific property of the
18 above-named Defendant, Francisco Cuevas ("Defendant"), pursuant to Title 18,
19 United States Code, Section 982(a)(I), as property involved in, or traceable thereto, a
20 violation of Title 18, United States Code, Section 1956(h); and
21         WHEREAS, on or about June 16, 2015, Defendant pled guilty before
22 Magistrate Judge David H. Bartick to Count 1 of the Superseding Indictment, which
23 plea included a consent to the forfeiture allegations of the Indictment and an
24 agreement to entry of a $11,986,892.00 judgment against the Defendant in favor of
25· the United States; and
26         WHEREAS, on July 30, 2015 this Court accepted the guilty plea of Defendant;
27 and
28         WHEREAS, by virtue of the admissions of the Defendant set out in the plea
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  1 agreement and guilty plea, the Court determined that $11,986,892.00 (U.S. dollars)
  2 represents the property obtained by the Defendant that was involved in, or traceable
  3 thereto, as a result of the violation of Title 18, United States Code, Section 1956(h),
  4 as charged in the Superseding indictment; and
  5        WHEREAS, by virtue of said guilty plea and the Court's findings, the
  6 United States is now entitled to an Order of Forfeiture and a judgment in its favor
  7 against the Defendant in the amount of $11,986,892.00, pursuant to Title 18, United
  8 States Code, Section 982(a)(I)and Rule 32.2(b) of the Federal Rules of Criminal
 9 Procedure; and
 10        WHEREAS, by virtue of the facts set forth in the plea agreement and forfeiture
 11 addendum, the United States has established the requisite nexus between the
 12 $11,986,892.00 judgment and the offense; and
13         WHEREAS, Rule 32.2(c)(I) provides that "no ancillary proceeding is required
14 to the extent that the forfeiture consists of a money judgment;" and
15         WHEREAS, the United States, having submitted the Order herein to the
16 Defendant through its attorney of record, to review, and no objections having been
17 received;
18         Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
19         1.     Defendant FRANCISCO CUEVAS shall forfeit to the United States the
20 sum of $11,986,892.00 pursuant to Title 18, United States Code, Section 982(a)(I);
21 and
22         2.     Judgment shall be entered in favor of the United States against
23 Defendant FRANCISCO CUEVAS in the amount of $11,986,892.00, with interest to
24 accrue thereon in accordance with 18 U.S.C. § 3612(f) and 28 U.S.C. § 1961; and
25         3.     This Court shall retain jurisdiction in the Case for the purpose of
26 enforcing the order of forfeiture and collecting and enforcing the judgment; and
27         4.    Pursuant to Rule 32.2(b)(4), this Order of Forfeiture shall be made final
28 as to the Defendant at the time of sentencing and is part of the sentence and included
                                             -2-
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 1 in the judgment; and
 2        5.      The United States may, at any time, move pursuant to Rule 32.2(e) to
 3 amend this Order of Forfeiture to substitute property having a value not to exceed
 4 $11,986,892.00 to satisfy the money judgment in whole or in part; and
 5        6.    The United States may take any and all actions available to it to collect
 6 and enforce the judgment.
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 9
10                                       ~~~ ,'\.vuuR T.
                                         rl,     es District Court
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